Case 1:21-cr-00119-BLW Document 1-1 Filed 04/14/21 Page 1of1

 

 

CRIMINAL COVERSHEET

 

 

DEFENDANT’S NAME: Oliver Yardley

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INVESTIGATIVE AGENT: Jonathan Riggs

Telephone No.: (208) 859- 4053

AGENCY: Federal Bureau of
Investigation

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JUVENILE: No

PUBLIC or SEALED: Sealed |

SERVICE TYPE: Warrant
(Summons or Warrant or
Notice (if Superseding))

BL y ISSUE: Yes

INTERPRETER: No
If YES, language:

 

CASE INFORMATION: Related to U.S. y, Ashley Cates,
1:20-cr-002 13-DCN

 

RELATED COMPLAINT: No
CASE NUMBER:

 

 

CRIMINAL CHARGING INFORMATION

 

“ee

 

CHARGING DOCUMENT: Indictment

 

 

 

 

 

 

 

 

 

Felony: Yes County of Offense: Payette
Class A Misdemeanor: No Estimated Trial Time: 3 days
Class B or C Misdemeanor: No
(Petty Offense)
STATUTE COUNT/ PENALTIES
(Title and Section(s)) FORFEITURE BRIEF DESCRIPTION (include Supervised Release
ALLEGATION and Special Assessment)
18 U.S.C, § 2, 21 U.S.C, § ONE Distribution of At least 5 and no more than
841(a)(L) and (b)(1)(B) THROUGH Methamphetamine 40 years of imprisonment
THREE and/or a $5,000,000 fine, at
least 4 years supervised
release, $100 Special
Assessment
21 U.S.C. § § 841 (ah), FOUR Conspiracy to Distribute | At least 5 and no more than
(b)(1)(B), and 846 Methamphetamine 40 years of imprisonment
and/or a $5,000,000 fine, at
least 4 years supervised
release, $100 Special
Assessment
18 U.S.C. § 922(g)1) FIVE Unlawful Possession of | Up to 10 years prison, 3
Firearms years supervised release,
$250,000 fine, $100 Special
Assessment
21 U.S.C, § 853 FORFEITURE Drug Forfeiture Forfeiture of listed property
ALLEGATION

 

 

 

 

Date: 13 April 2021

Assistant U.S. Attorney: CHRISTOPHER S. ATWOOD CSA
Telephone No.:

 

(208) 334-1211

 

 

 
